               Case 5:21-cv-09639-EJD Document 16 Filed 03/01/22 Page 1 of 4




1    John D. Winer, Esq. (SBN 91078)
     Elana R. Jacobs, Esq. (SBN 303178)
2    Michael S. Reeder, Esq. (SBN 282193)
3    WINER, BURRITT & SCOTT LLP
     1901 HARRISON STREET, SUITE 1100
4    OAKLAND, CALIFORNIA 94612
     Email: elana@wmlawyers.com
5    michael@wmlawyers.com
6    Tel (510) 433-1000
     Fax (510) 433-1001
7
     Attorneys for Plaintiffs
8    Keunho (Chris) Park, Felicia Dodge, and Daniel Pere
9
                                  IN THE UNITED STATES DISTRICT COURT
10
                                   NORTHERN DISTRICT OF CALIFORNIA
11
12   KEUNHO (CHRIS) PARK, an individual;                 Case No.: 5:21-cv-09639-EJD
     FELICIA DODGE, an individual; DANIEL
13   PERE, an individual,                                ADMINISTRATIVE MOTION AND
14                                                       [PROPOSED] ORDER TO CONTINUE THE
                     Plaintiff,                          INITIAL CASE MANAGEMENT
15                                                       CONFERENCE AND RELATED DATES
             v.
16
     UNITED STATES OF AMERICA, a
17   governmental entity; FERDA SAKMAN, M.D.,
18   an individual; and DOES 1 thru 25, inclusive,

19                   Defendants.
20
21
22
            Pursuant to Local Rules 6-3 and 7-11, Plaintiffs hereby brings this administrative motion for an
23
     Order continuing the Initial Case Management Conference, and all related dates, from March 17, 2022
24
     at 10:00 a.m. to April 21, 2022 at 10:00 a.m. or as soon thereafter as is convenient for the Court.
25
            Pursuant to Local Rule 16.3, Lead Trial Counsel is to meet and confer as required by Fed. R.
26
     Civ. P. 26(f) and by ADR Local Rule 3-5. Plaintiff’s Lead Trial Counsel is Elana Jacobs. (Declaration
27
     of Michael S. Reeder, ⁋2.) Currently, the parties are required to meet and confer by February 24, 2022.
28



        ADMINISTRATIVE MOTION AND [PROPOSED] ORDER TO CONTINUE THE INITIAL CASE
                     MANAGEMENT CONFERENCE AND RELATED DATES
                Case 5:21-cv-09639-EJD Document 16 Filed 03/01/22 Page 2 of 4




 1 (Ibid.) However, Ms. Jacobs has had a family medical emergency and is unavailable for the week of
 2 February 21-February 25, and may require additional time away from work. (Ibid.) On February 23,
 3 2022, I was informed that her Mother had passed away. (Ibid.)
 4           Further, Plaintiff’s counsel has been in contact with Assistant United States Attorney, James A.
 5 Scharf, who will be representing the United States of America. (Id., ⁋3.) Although he has not appeared
 6 in the case yet, he has asked for the Court to move the Initial Case Management Conference to some
 7 date after April 18, 2022. (Ibid.) He further advised that he is unavailable the week of May 2, 2022,
 8 due to a teaching engagement. (Ibid.) Mr. Scharf advised that an Answer to Plaintiffs’ Complaint is
 9 presently due April 18, 2022. (Ibid.)
10           Plaintiffs’ counsel is presently unaware of whether defendant Ferda Sakman, M.D. is
11 represented or if Mr. Scharf will be representing her. (Id., ⁋4.)
12           Thus, Plaintiffs move for the Court to continue the Initial Case Management Conference to
13 April 21, 2022, or as soon thereafter as is convenient for the Court.
14
15    Date                               Event                               Governing Rule
16    12/14/21                           Complaint Filed
17                                       *Last day to:                       FRCivP 26(f) &
      3/25/22
                                         • meet and confer re: initial
                                                                             ADR L.R.3-5
18                                       disclosures, early
                                         settlement, ADR process
19                                       selection, and discovery plan
20                                       • file ADR Certification signed     Civil L.R . 16-8(b)
                                         by Parties and
                                                                             & ADR L.R. 3-5(b)
21                                       Counsel (form available at
                                         http://www.cand.uscourts.gov)
22                                       **Last day to file Rule 26(f)       FRCivP 26(a) (1)
      4/8/22
23                                       Report, complete initial
                                                                             Civil L.R . 16-9
                                         disclosures or state objection in
24                                       Rule 26(f) Report and file Case
                                         Management Statement per
25                                       Standing Order re Contents of
26                                       Joint Case Management
                                         Statement (also available at
27                                       http://www.cand.uscourts.gov)
                                         INITIAL CASE
28    4/21/22
                                         MANAGEMENT
                                                                             Civil L.R . 16-10

                                                        -1-
        ADMINISTRATIVE MOTION AND [PROPOSED] ORDER TO CONTINUE THE INITIAL CASE
                     MANAGEMENT CONFERENCE AND RELATED DATES
             Case 5:21-cv-09639-EJD Document 16 Filed 03/01/22 Page 3 of 4




1                                CONFERENCE (CMC) at
                                 10:00 AM in:
2                                Courtroom 4, 5th Floor
                                 Robert F. Peckham Federal
3                                Building
4                                280 South 1st Street, San Jose,
                                 CA 95113
5
6
7
     Dated: February 25, 2022                     WINER, BURRITT & SCOTT, LLP
8
9                                                 By: _/s/ Michael S. Reeder________________
10                                                   John D. Winer, Esq.
                                                     Elana R. Jacobs, Esq.
11                                                   Michael S. Reeder, Esq.
12                                                    Attorneys for Plaintiffs
13                                                    Keunho (Chris) Park, Felicia Dodge, and
                                                      Daniel Pere
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                               -2-
      ADMINISTRATIVE MOTION AND [PROPOSED] ORDER TO CONTINUE THE INITIAL CASE
                   MANAGEMENT CONFERENCE AND RELATED DATES
             Case 5:21-cv-09639-EJD Document 16 Filed 03/01/22 Page 4 of 4




1                                         [PROPOSED] ORDER
2 AFTER CONSIDERING THE MOVING PAPERS AND THE SUPPORTING DECLARATION, IT
3 IS SO ORDERED that the Initial Case Management Conference is continued to April 21, 2022, and all
4 related deadlines are continued to corresponded with that date.
5
6
7    DATE: March 1, 2022                               By: ___________________________
8                                                             Hon. Edward J. Davila
9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                     -3-
      ADMINISTRATIVE MOTION AND [PROPOSED] ORDER TO CONTINUE THE INITIAL CASE
                   MANAGEMENT CONFERENCE AND RELATED DATES
